










Opinion issued July 14, 2005














In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00541-CR
____________

STEVEN AVILEZ, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 177th District Court
Harris County, Texas
Trial Court Cause No. 1024193



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On June 30, 2005, appellant  filed a motion to dismiss the above-referenced
appeal.  The motion complies with the Texas Rules of Appellate Procedure.  See Tex.
R. App. P. 42.2(a).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We have not yet issued a decision.  Accordingly, the motion is granted and the
appeal is dismissed. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Clerk of this Court is directed to issue the mandate.  Tex. R. App. P. 18.1.

PER CURIAM

Panel consists of Justices Taft, Alcala, and Higley.

Do not publish.  Tex. R. App. P. 47.2(b).


